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                                               UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF KENTUCKY
                                               SOUTHERN DIVISION AT LONDON
                                                CRIMINAL MINUTES – JURY TRIAL

Case No.    6:17-CR-036-CHB-01                      At London                             Date    September 3, 2019

Case Style: United States of America v. Rodney Scott Phelps

DOCKET ENTRY: (DAY 3): The United States continued its case presentation. For the reasons stated on the record, and based on the
juror’s inability to continue, the Court EXCUSED juror number 13 for good cause. The Clerk shall notify the juror upon case conclusion.


PRESENT:        HON. CLARIA HORN BOOM, U.S. DISTRICT JUDGE

                                                                                                   Kenneth Taylor and
                            Kim Allen                         Lisa Wiesman                          Kathryn Anderson
                           Deputy Clerk                       Court Reporter                      Assistant U.S. Attorney

DEFENDANT:                                                            ATTORNEY FOR DEFENDANT:

Rodney Scott Phelps (OR)                                              Andrew Stephens (CJA)

X JURY TRIAL. Jurors appeared for day 3 of trial.

       Juror No.                      64            Juror No.                   26                Juror No.                 28
       Juror No.                      48            Juror No.                   25                Juror No.        13 - DISMISSED

       Juror No.                      19            Juror No.                   45

       Juror No.                      29            Juror No.                   73

       Juror No.                      42            Juror No.                   18

       Juror No.                      46            Juror No.                   51

   X        Introduction of evidence for plaintiff begun but not concluded.

            Introduction of evidence for defendant begun but not concluded.

   X        Case continued to September 4, 2019 at 8:45 a.m. for further trial. Counsel shall be present at 8:30 a.m.

            Motion for judgment of acquittal        granted           denied         submitted.

            Jury retires to deliberate at         ; Jury returns at             .

            FINDING BY COURT.                    JURY VERDICT. SEE SIGNED VERDICT AS TO EACH DEFENDANT

            Jury Polled.       _______Polling Waived               _______Mistrial Declared.

            Case continued until                   at           at_________________, Kentucky for sentencing.

            Court received Presentence Report.           ____Copy furnished to counsel pursuant to Rule 32 FRCP.

            Copy of Presentence Report not requested.

 X          Defendant Rodney Scott Phelps remains on bond. See DE 10 and DE 74

Copies: COR, USP, USM

Initials of Deputy Clerk        kja                                                                    TIC: 6/28
